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Attorneys for Plaintiff

                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

 Ellen Blonder,
                                                         Case No: 2:21-cv-01001-JS-AKT
                        Plaintiff,

                v.

 Alliant Capital Management LLC,

                       Defendant.


                          NOTICE OF VOLUNTARY DISMISSAL
                           PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the plaintiff

and/or plaintiff's counsel, hereby give notice that whereas no party is an infant or incompetent

the above-captioned action is voluntarily dismissed with prejudice.


Dated: April 5, 2021

                                             BARSHAY SANDERS, PLLC

                                             By:     /s Craig B. Sanders
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